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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

 PAUL FARRELL,                                    ))
                         Plaintiff,               ))
                                                  ))
 v.                                                )       Case No. 5:19-cv-04085-HLT-GEB
 KINDER MORGAN G.P., INC.,                         )
                                                   )
                         Defendant.                )


               AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

               Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), plaintiff Paul Farrell

                                            prejudice, with each party to bear its or his own costs. All
stipulates to dismissal of this action with prejudice,

parties who have appeared have signed this Stipulation of Dismissal.

               Plaintiff respectfully requests entry of this honorable Court's
                                                                       Court’s order of dismissal

with prejudice to give effect to this Agreed Stipulation, terminating proceedings in this matter.

                                               Respectfully submitted,

                                               /s/ Larry G. Michel
                                               Larry G. Michel #014067
                                               KENNEDY BERKLEY YARNEVICH &
                                               WILLIAMSON, CHARTERED
                                                                       th
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                                               ATTORNEYS FOR PLAINTIFF




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                                                      Respectfully submitted,
OF COUNSEL:
                                                                            II
                                                       /s/ James R. Holland II
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                                                      C            DEFENDANT
                                                       OUNSEL FOR DEFENDANT
                                                      COUNSEL
                                                      K INDER M
                                                      KINDER    ORGAN IINC.
                                                              MORGAN    NC.

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                                 CERTIFICATE OF SERVICE

                The undersigned hereby certifies that the foregoing AGREED STIPULATION
OF DISMISSAL was filed on July __,                                       Plaintiff’s attorneys and in
                                     15 2020 with the authorization of Plaintiff's
                                     15,
accordance with the e-filing protocols of the United States District Court for the District of Kansas,
and it therefore has been served on all counsel of record consistent with those protocols.

                                                              /s/ James R. Holland
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                                                              Attorney for Defendant




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